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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, FRIENDSHIP-
WEST BAPTIST CHURCH, THE ANTI-
DEFAMATION LEAGUE AUSTIN, SOUTHWEST,
AND TEXOMA REGIONS, SOUTHWEST VOTER
REGISTRATION EDUCATION PROJECT, TEXAS
IMPACT, MEXICAN AMERICAN BAR
ASSOCIATION OF TEXAS, TEXAS HISPANICS
ORGANIZED FOR POLITICAL EDUCATION, JOLT
ACTION, WILLIAM C. VELASQUEZ INSTITUTE,
FIEL HOUSTON INC., ISABEL LONGORIA, and
JAMES LEWIN,                                                       Case No. 5:21-844
                                         Plaintiffs,
                           - against -
GREG ABBOTT, in his official capacity as Governor of
Texas, JOSE A. ESPARZA, in his official capacity as
Deputy Secretary of State of Texas, KEN PAXTON, in
his official capacity as Attorney General of Texas, and
LUPE C. TORRES, in her official capacity as Medina
County Elections Administrator,
                                         Defendants.


          PLAINTIFFS’ RULE 7.1 CORPORATE DISCLOSURE STATEMENT

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiffs La Unió n del Pueblo

Entero (“LUPE”), et al., by and through their undersigned counsel, submit the following disclosure

of corporate interests:

       Plaintiff LUPE is a non-profit corporation that has no parent company. No publicly held

corporation owns 10% or more of LUPE stock.

       Plaintiff FRIENDSHIP-WEST BAPTIST CHURCH (“FRIENDSHIP-WEST”) is a

religious organization that has no parent company. No publicly held corporation owns 10% or

more of FRIENDSHIP-WEST stock.
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         Plaintiffs ANTI-DEFAMATION LEAGUE AUSTIN, SOUTHWEST, AND TEXOMA

REGIONS are the regional offices of the Anti-Defamation League (“ADL”) in Texas. ADL is a

nonprofit corporation that has no parent company. No publicly held corporation owns 10% or more

of ADL stock.

         Plaintiff   SOUTHWEST      VOTER      REGISTRATION        EDUCATION        PROJECT

(“SVREP”) is a non-profit corporation that has no parent company. No publicly held corporation

owns 10% or more of SVREP stock.

         Plaintiff TEXAS IMPACT is a non-profit corporation that has no parent company. No

publicly held corporation owns 10% or more of TEXAS IMPACT stock.

         Plaintiff MEXICAN AMERICAN BAR ASSOCIATION OF TEXAS (“MABA-TX”) is a

professional association that has no parent company. No publicly held corporation owns 10% or

more of MABA-TX stock.

         Plaintiff TEXAS HISPANICS ORGANIZED FOR POLITICAL EDUCATION (“TEXAS

HOPE”) is a non-profit corporation that has no parent company. No publicly held corporation

owns 10% or more of TEXAS HOPE stock.

         Plaintiff JOLT ACTION is a non-profit corporation that has no parent company. No

publicly held corporation owns 10% or more of JOLT ACTION stock.

         Plaintiff WILLIAM C. VELASQUEZ INSTITUTE (“WCVI”) is a nonprofit corporation

that has no parent company. No publicly held corporation owns 10% or more of WCVI stock.

         Plaintiff FIEL HOUSTON INC. (“FIEL”) is a nonprofit corporation that has no parent

company. No publicly held corporation owns 10% or more of FIEL stock.



Dated:      September 3, 2021                      Respectfully submitted,




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                                                   LONGORIA




                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that she has electronically submitted a true and

correct copy of the above document via the Court’s electronic filing system on the 3rd day of

September 2021.

                                                   /s/ Nina Perales
                                                   Nina Perales




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